           Case 1:13-cr-00411-DAD-BAM Document 34 Filed 03/20/14 Page 1 of 2


 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     Marco Antonio Granados
 6

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 9

10
                                                    ) Case No.: Case No.13-CR-00411AWI-BAM
     UNITED STATES OF AMERICA,                      )
11
                                                    )
                   Plaintiff,                       ) STIPULATION AND ORDER TO
12
                                                    ) CONTINUE STATUS CONFERENCE
            vs.                                     )
13
                                                    )
     MARCO ANTONIO GRANADOS,                        )
14
                                                    )
                   Defendant                        )
15
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16
     BARBARA A. MCAULIFFE AND BRIAN K. DELANEY, ASSISTANT UNITED STATES
17
     ATTORNEY:
18
            COMES NOW Defendant, MARCO ANTONIO GRANADOS, by and through his
19
     attorney of record, DAVID A. TORRES hereby requesting that the Status Conference currently
20
     set for Monday, March 24, 2014 be continued to Tuesday, May 27, 2014.
21
            The continuance is needed in order to conduct further investigation and a possible
22
     resolution in this matter. I have spoken to AUSA Brian Delany and co-counsel Jerome Price,
23
     and they have no objection to continuing the Status Conference.
24
            The parties also agree the delays resulting from the continuance shall be excluded in the
25
     interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
            Case 1:13-cr-00411-DAD-BAM Document 34 Filed 03/20/14 Page 2 of 2


 1   //

 2           IT IS SO STIPULATED.

 3                                                            Respectfully Submitted,

 4   DATED:3/19/14                                            /s/ David A Torres     ___
                                                              DAVID A. TORRES
 5                                                            Attorney for Defendant
                                                              MARCO ANTONIO GRANADOS
 6

 7
     DATED:3/19/14                                            /s/ Jerome Price_______________
                                                              JEROME PRICE
 8                                                            Attorney for Defendant
                                                              Luis Fernando Granados
 9

10   DATED:3/19/14                                            /s/Brian K. Delany_ ________
                                                              BRIAN K. DELANY
11                                                            Assistant U.S. Attorney
12

13
                                              ORDER
14

15           IT IS SO ORDERED that the 2nd Status Conference hearing for all defendants be

16   continued from March 24, 2014 to May 27, 2014 at 1:00 PM before Judge McAuliffe. Time is
17
     excluded pursuant to18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
18

19
     IT IS SO ORDERED.
20
          Dated:   March 20, 2014                         /s/ Barbara A. McAuliffe           _
21
                                                    UNITED STATES MAGISTRATE JUDGE
22

23

24

25
